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      UNITED STATES COURT OF INTERNATIONAL TRADE
     BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE

                                 )
THE UNITED STATES,               )
                                 )
      Plaintiff,                 )
                                 )
                                 )
   v.                            )               Court No. 21-00361
                                 )
CROWN CORK & SEAL, USA, INC.,    )
and CROWN CORK & SEAL CO., INC., )
                                 )
      Defendants.                )
                                 )

  DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS
      COUNTS I AND II OF THE AMENDED COMPLAINT


                                   Jackson D. Toof
                                   Leah N. Scarpelli

                                   ArentFox Schiff LLP
                                   1717 K Street, NW
                                   Washington, DC 20006
                                   Tel: (202) 857-6000
                                   Fax: (202) 857-6395
                                   Email: jackson.toof@afslaw.com
                                           leah.scarpelli@afslaw.com

                                   Counsel for Defendants Crown Cork
                                   & Seal, USA, Inc. and Crown Cork
                                   & Seal Co., Inc.

Dated: August 17, 2022
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                                 GLOSSARY

      Acronym/Abbreviation                          Item
    Crown USA1                   Crown Cork & Seal, USA, Inc.
    CCK2                         Crown Cork & Seal Co., Inc.
    Defendants, Crown            Crown Cork & Seal, USA, Inc. and Crown
    Companies, or Crown          Cork & Seal Co., Inc.
    Crown Americas               Crown Cork & Seal Americas, Inc
    Initial Motion to Dismiss    Motion to Dismiss Counts I and II of the
                                 Complaint
    Motion to Dismiss            Crown Companies’ Motion to Dismiss
                                 Counts I and II of the Amended
                                 Complaint
    Can Ends                     Easy Open Full Aperture Ends and metal
                                 vacuum closures
    CAFC                         Court of Appeals for the Federal Circuit
    NCBFFA                       National Customs Brokers and Freight
                                 Forwarders Association
    USCIT or the Court           United States Court of International
                                 Trade
    Plaintiff or Government      United States
    CBP or Customs               U.S. Customs and Border Protection
    HTSUS                        Harmonized Tariff Schedule of the
                                 United States
    USC                          United States Code
    USCA                         United States Code Annotated




1 “Crown USA” is referred to as “CCS USA” in the Opposition to Defendants’ Motion
to Dismiss Counts I and II of the Amended Complaint.
2“CCK” is referred to as “CCS” in the Opposition to Defendants’ Motion to Dismiss
Counts I and II of the Amended Complaint.

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       UNITED STATES COURT OF INTERNATIONAL TRADE
      BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE

                                )
THE UNITED STATES               )
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      Plaintiff,                )
                                )
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   v.                           )                      Court No. 21-00361
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CROWN CORK & SEAL, USA, INC.,   )
and CROWN CORK & SEAL CO., INC. )
                                )
      Defendants.               )
                                )

    DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS
        COUNTS I AND II OF THE AMENDED COMPLAINT

      Defendants Crown Cork & Seal, USA, Inc. (“Crown USA”) and

Crown Cork & Seal Co., Inc. (“CCK”) (collectively, “Defendants,” the

“Crown Companies” or “Crown”),3 by and through their undersigned

counsel, respectfully submit this Reply to the Government’s Opposition

to Defendants’ Motion to Dismiss Counts I and II of the Amended

Complaint, ECF No. 26 (the “Opposition”).




3Capitalized terms not otherwise defined herein have the meaning given to them in
Defendants’ Motion to Dismiss Counts I and II of the Amended Complaint, ECF No.
24 (the “Motion” or “Motion to Dismiss”). The Glossary has been updated to reflect
any new, defined terms.

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I.   INTRODUCTION

     The Government’s Amended Complaint and Opposition, when

compared to the initial Complaint, contains absolutely nothing new.

This case is nothing more than a negligence case masquerading as a

fraud (and gross negligence) case simply because the Government

insists on asserting conclusions rather than facts. As a result, the

Amended Complaint continues to lack the requisite facts needed to

support a claim of fraud or gross negligence. As detailed in the Motion

to Dismiss, the facts alleged, at best, state a claim of negligence, while

the additional claims of fraud and gross negligence remain grounded

only in pure speculation.

     Again, this is not a case where the alleged conduct occurred

recently, and the Government has brought a lawsuit without any direct

interaction with the Defendants for 11 years and before knowing the

factual landscape. The Government has been investigating the alleged

conduct for over a decade, during which Crown fully cooperated by

participating in interviews, providing thousands of pages of documents

in response to administrative summonses and requests for information

from CBP, and agreeing to eight statute of limitation waivers requested


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by CBP.4 Yet even with leave to amend its Complaint, the Government

remains unable to identify any conduct by Crown that could raise its

allegation of incorrect tariff classification beyond a simple negligence

claim. Instead, the Government continues to make the remarkable,

conclusory assertion that the Crown Companies, in inadvertently

misclassifying can ends, were engaged in a complex fraudulent scheme.

Opp. at 17. Because the Government continues to plead only bare,

conclusory elements of fraud and gross negligence, the Court should

dismiss Counts I and II as a matter of law with prejudice.5




4 In its Opposition, the Government asserts that the Crown Companies played a
role in the delay of this matter because they “repeatedly entered into statute-of-
limitations waivers” with CBP. Opp. at 10-11. Not so. CBP requested the waivers
and Crown agreed to them as a sign of cooperation with CBP’s investigation. CBP
waited five years from its 2011 investigation to its issuance of the pre-penalty
notice. It took no actions in between other than to request statute of limitation
waivers. The Government’s related reference to the Crown Companies’ “many
requests [for an extension of time to respond] during the administrative penalty
phase” is similarly misleading. Opp. at 10. The delay in the prosecution of this case
was in no way caused by Crown’s request for a short extension of time in the
penalty phase, which delayed the proceeding by three months; rather, the eight
statute-of-limitation waivers expressly requested by CBP delayed this proceeding by
more than 10 years.
5The Court gave the Government an opportunity to amend its Complaint. The
Court should not entertain any further amendments.

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II.   ARGUMENT

      A.   Plaintiff Has Failed To Allege Facts Sufficient To
           Support Its Allegations of Fraud and Gross
           Negligence

      As the Government acknowledges, a Court must “determine

whether [ facts in a complaint ] plausibly give rise to an entitlement to

relief.” Opp. at 3 (quoting Ashcroft v. Iqbal, 556 U.S. 662 (2009)

(emphasis added)). However, the Government has pled no actual facts

sufficient to support its claims for fraud or gross negligence. The

Government’s central argument is that, because most imports of can

ends from Europe were classified incorrectly, while most imports of the

same product from Canada were classified correctly, the

misclassification of can ends from Europe could not have been a

“coincidence or mistake,” but must have been, as a matter of fact, a

“concerted strategy.” Opp. at 2. Essential to the Government’s

allegations is a directive to the Court to assume, as a matter of fact,

that Crown’s misclassification of can ends from Europe was done

“knowingly” or “intentionally.” Opp. at 8-9.

      Throughout its Opposition, the Government asserts that Crown

“intentionally misclassified” entries of can ends, but presents no factual

basis whatsoever for its conclusion. Opp. at 9. Still, the Government
                                     4
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argues that the Amended Complaint provides circumstantial evidence

that Crown knew the classification of the can ends from Europe was

incorrect, specifically citing (1) “the long history of these companies

specializing in the manufacture and import of these metal lids,” (2)

“their common ownership and management,” (3) “their correct

classification of lids from Canada,” and (4) “the virtually nil statistical

probability that this false classification could have been the result of a

miraculous coincidence.” Opp. at 22. Looking more closely at each of

these assertions, however, it is clear that none supports the

Government’s allegations of fraud and gross negligence.

               1.    The Crown Companies Do Not Specialize in the
                     Import of Can Ends

        As evidence that Crown misclassified the entries of can ends

“knowing [the classification was] false,” the Government first cites the

Crown Companies’ “long history” as an importer of can ends. Opp. at 22.

Though the Government contends that Crown has specialized in the

manufacture of can ends “for 100 years,” Opp. at 2, Crown in fact did

not even begin to produce this product in Europe (and thereby import it

into the U.S.) until it acquired a European can manufacturer in 1996.6


6   See https://www.crowncork.com/about/history-and-timeline.

                                          5
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In the Amended Complaint, the Government continues to emphasize its

incorrect conclusion that, because the HTSUS “subheading definition

[for can ends] used the same three words that form the corporate names

of both [ CCS and Crown USA ], i.e. ‘Crown,’ ‘corks’ and ‘seals,’” Crown

must have known the correct classification of metal lids. Am. Compl. ¶

18. In the Opposition, the Government reiterates that can ends “should

be described and classified as “Stoppers, caps and lids (including crown

corks, screw caps, and pouring stoppers), capsules for bottles, threaded

bungs, bung covers, seals and other packing accessories, and parts

thereof, of base metal: Other [than Crown corks (including crown seals

and caps), and parts thereof].” Opp. at 5-6 (emphasis in original).

     By bolding the words crown, cork, and seal (as shown above), the

Government continues to imply mistakenly that the Crown Companies

must have been familiar with the classification of can ends, presumably

because the classification includes a part of Crown’s name. The

Government’s supposition misunderstands the product it is alleging to

be fraudulently misclassified, i.e. can ends, which are wholly separate

from “crown corks” (known as bottlecaps in modern parlance) or “seals,”

and are classified under a separate 10-digit subheading of the HTSUS.


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Mot. at 18-19.

      The Government’s theory that Crown somehow knew (or should

have known) the correct classification simply because they are

“sophisticated importers” that “specialized in the manufacture of these

lids” is without merit. Opp. at 2. As an initial matter, the correct

classification of can ends as “other stoppers, caps and lids, capsules for

bottles, threaded bungs, bung covers, seals and other packing

accessories, and parts thereof, of base metal,” rather than as “other

articles of iron or steel: other: of tinplate” is not obvious on its face and

was only revealed to Crown by its Customs counsel following a review of

the HTSUS Explanatory Notes and relevant CBP rulings. Mot. at 18-

19.

      Moreover, as the Government acknowledges, Crown operates

“within a billion-dollar conglomerate,” with food can ends being one of

many products imported by Crown. Opp. at 2. Other than the company

name, which references “crown corks” (again, a term for bottlecaps) and

seals, the Government offers no facts indicating that the inadvertent

misclassification of a relatively small number of entries over a six-year

period was a “concerted strategy,” nor that any of Crown’s many


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employees “knew these statements were false.” Opp. at 2. To the

contrary, Crown’s size and diverse product lines, as well as the global

sourcing of products from related companies, further demonstrates the

vastness of Crown’s operations and explains that the employees who

may have unwisely failed to oversee customs entry filings made by

customs brokers would not be aware of a discrepancy in the

classification of can ends coming from various parts of the world.7

            2.    Common Ownership Does Not Impute Knowledge
                  of HTSUS Classifications

      The Government next supposes that Crown was aware of the

misclassification of can ends from Europe because they have “common

ownership and management.” Opp. at 22. The Government specifically

cites Crown’s “inter-relatedness and common purpose” as evidence that

personnel “knew what they were importing and exporting, and how to

classify this merchandise.” Opp. at 4.

      The Government asserts, with zero facts, that unidentified

personnel importing can ends from Europe and Canada were in

communication regarding the classification, that those unidentified



7As discussed below, Crown acknowledged this mistake by filing timely voluntary
disclosure to correct the entries of can ends that were misclassified.

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personnel knew how to classify the can ends correctly, and that those

unidentified personnel intentionally misclassified entries from Europe

to avoid payment of 2.6% duties. No such communications have ever

emerged in the 13-year history of the Government’s investigation.

Nevertheless, the Government then directs the Court to conclusively

presume, solely on the basis that CCK, Crown USA, and its can end

suppliers are related, that its assertions are true. The Government has

overreached.8

      Common ownership is insufficient to impute knowledge of one

company’s classifications to another, as the Government asserts. Opp.

at 2, 4, 22. This is especially true for Crown, which the calls a “billion-

dollar conglomerate,” employing more than 27,600 in 43 countries

during the relevant period. Opp. at 2, 4-5. The Government’s Opposition

includes several pages to the size and profitability of Crown, Opp. at 4-

5, Exhs. 1-3, seemingly as evidence of their presumed “sophistica[tion]”

as importers and to account for the fact that the Government is unable

to name or otherwise identify any “employees and agents . . . who


8As noted in the initial round of briefing, such conclusory allegations would open
the door to every related party transaction potentially being subject to a fraud claim
where there is a mistake in entry declarations.

                                          9
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carried out defendants’ fraud scheme.” Opp. at 2, 5, and 19. However,

the Government’s focus misses the point. Opp. at 19-20. Whether the

Crown Companies are considered “persons” is irrelevant given the

Government’s inability to allege actual facts (as opposed to conclusions)

in support of its claim that the misclassification of can ends was a

coordinated scheme by Crown. Opp. at 20-21.

     As explained in the Motion to Dismiss, the Government does not

allege that Crown presented intentionally falsified invoices or value

data, misrepresented content or origin, falsely described the goods, or

otherwise engaged in conduct present in other cases alleging fraud or

gross negligence. See Mot. at 23-24. It does not do so because it cannot

do so. And yet, the Government acknowledges, a complaint of fraud

must detail the “‘who, what, where, when and how” of the scheme. Opp.

at 13. But the Amended Complaint contains no substance beyond

generic allegations and broad references to Crown’s corporate structure.

Even the Government acknowledges its inability to “describe what

these employees and agents did,” i.e. the “how” of such a scheme. Opp.

at 19. That admission alone warrants dismissal of these two claims.

The information provided in the Opposition only highlights the


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implausibility of the Government’s premise that all of the companies in

the Crown Companies’ entire corporate group understood each other’s

conduct solely by reason of common ownership. Opp. at 4.

     In assuming, arguendo, the Crown Companies are inherently

familiar with each other’s tariff classifications, the Government also

ignores entirely Crown’s corporate organization and structure at the

time of the relevant entries. As the Government notes in its Opposition,

CCK and Crown USA are both now ultimately controlled by the same

company, Crown Holdings. Opp. at 4. Previously, however, CCK was

the publicly-traded parent of the entire Crown group. In 1996, CCK

created Crown USA to hold all the assets of its U.S. business, including

facilities and inventory. Crown Holdings was created in 2003 and took

over CCK’s role as the publicly-traded parent company of the Crown

group. See Opp. at Exh. 1, ECF No. 26-2 (Crown Holdings Form 10-K

for Period Ended December 31, 2004 at 35) (“In connection with its

refinancing and reorganization in 2003. . . [CCK] formed a new public

holding company named Crown Holdings, Inc. [CCK] is now a wholly-

owned subsidiary of Crown Holdings, Inc.”). In 2003, an affiliated

company named Crown Cork & Seal Americas, Inc. (now CROWN


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Americas LLC) (“Crown Americas”) was inserted between CCK and

Crown USA, such that Crown Holdings owns CCK, which in turn owns

Crown Americas, which in turn owns Crown USA. See Opp. at Exh. 2,

ECF No. 26-3 (Crown Holdings Form 10-K for Period Ended December

31, 2009 at 104).

     With these changes, there was also an intercompany realignment

of responsibilities, including a clarification of Crown USA’s role as the

main importing entity for the Crown family. However, this transition,

which involved not only customs entries but also every form of

expression used by Crown Holdings and its subsidiaries (i.e.,

letterheads, building signs, standard form contract documents, business

cards, breakroom posters, etc.), took some time to work its way through

the tens of thousands of global employees of the corporate group. What

the Government characterizes as a “fraud scheme,” Opp. at 10, 19, 23,

was at worst an absence of coordination resulting from this major

reorganization of a “multi-billion dollar international conglomerate of

companies,” and nothing more. Opp. at 4.

     In this context, the Government’s contention that the Crown

Companies’ corporate affiliation “foreclose[s] the notion that [the


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misclassification of can ends was] inadvertent” is without merit. Opp. at

8. Though the Crown Companies are owned by the same holding

company, this fact, on its own, does not “impel the inference” that

unidentified personnel know the correct classification of can ends, nor

establish a conspiracy to commit fraud or even gross negligence. Opp. at

4. To the contrary, given the size and decentralization of the Crown

Companies during this time, the misclassification of a comparatively

small sub-set of can ends under a HTSUS code that is not facially

incorrect, was simple negligence at worst.

           3.    Differences in the Classification of Can Ends Are
                 the Result of Separate Brokers

     The crux of the Government’s argument is that the Crown

Companies “demonstrated they understood how to correctly classify the

metal lids from Europe by correctly classifying the same lids when they

came from Canada.” Opp. at 31 (citing Am. Compl. ¶¶ 17-23). As Crown

has explained, this argument ignores that during the relevant period,

CCK and Crown USA continued to utilize their own respective importer

of record numbers and Crown used different, external unrelated brokers

for imports from Canada and Europe, a fact well known to the

Government through its investigation.

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      Despite a laser focus on the common ownership of the Crown

Companies, Opp. at 4-5, Exhs. 1-3, the Government continues to

dismiss the critical fact that different customs brokers were used to

enter the can ends imported from Canada and Europe respectively. Mot.

at 16, 32. Indeed, there is no factual allegation or any evidence to

support the notion that the same Crown employees supplied the

information relating to the classification of can ends to the two different

brokers at all, let alone that they were aware of the difference in

classifications. Nor is there any factual allegation or evidence that the

divergent classifications were the result of any coordination between

the Crown Companies (or their Canadian and European affiliates) and

the independent brokers; this despite the full cooperation of Crown

during a thirteen-year investigation in which the Government

interviewed employees involved with import compliance at Crown’s

headquarters, conducted numerous discussions with counsel, and

received large quantities of documents concerning the corporate

structure of Crown and the manufacture and importation of can ends.9


9 Although the Government objects to Crown’s statement that there were more than
“ten years” of investigations, Opp. at 11, it is not in dispute that this matter
commenced in June 2009, when the Crown Companies filed the first of two prior
disclosures regarding misclassification of can ends with the Port of Milwaukee. Mot.

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The Government implies that the absence of evidence on whether the

misclassification of can ends was “intentional” is due to Crown’s

inability to provide evidence, Opp. at 11. But this ignores the thousands

of pages of additional information supplied by Crown to CBP

throughout its investigation and the administrative summonses

process.10 It also seeks to shift improperly the burden of proof in this

case: the Government has the obligation to establish intent; Crown

does not have to prove a lack thereof.

      At the same time, the Government willfully ignores or dismisses

the evidence Crown did provide, which demonstrates that CCK and

Crown USA relied on different, external unrelated customs brokers for


at 26, n.10. Since that time, CBP has participated in interviews of a number of
employees at Crown’s headquarters regarding the circumstances of the disclosures,
conducted a mitigation conference with counsel for Crown at the Port of Milwaukee,
and reviewed large quantities of additional information supplied by Crown
regarding the manufacture and import of can ends by Crown, as well as Crown’s
corporate structure. Mot. at 26. It is unclear how this information gathering
process, which the Government itself notes involved the “request[ing of]
communications and evidence,” Opp. at 11, is distinguishable from an
“investigation.”
10The Government claims that “experience and common sense teach that companies
which have committed fraud conceal, obfuscate, alter or destroy such evidence and
records, rather than disclosing it.” Opp. at 19. If this is true, by the Government’s
own standard, there can be no plausible fraud claim against Crown given their
extensive cooperation with the Government’s investigation. It also leads to the
conclusion that any target of a Government inquiry that cannot provide affirmative
evidence of its innocence is to be presumed guilty. This cannot be the standard that
we apply in our legal system.

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entering the can ends imported from Canada and from Europe,

respectively, during the relevant period. Mot. at 16.11 The Government

ignores the implication of this fact by baselessly alleging that the

Crown Companies “– and not their brokers – directed the classification

of these metal lids” based “exclusively upon representations from CCS

[and] CCS USA.” Opp. at 7 (citing Am. Compl. ¶ 15). Yet, the

Government fails to show what, if anything, the Crown Companies

actually provided to their respective brokers regarding the classification

of can ends. Mot. at 15. Instead, the Government’s conclusion is based

on the fact that the “brokers never possessed, observed, or otherwise

controlled any of the subject metal lids.” Id.

      It is obvious the Government misunderstands the role of brokers

in customs transactions. The Government claims that the Crown

Companies’ description of how they classify merchandise is a “flagrant

falsehood,” Opp. at 31, seemingly based on the belief of Government

counsel that “[t]he broker never spearheads the classification ever.”




11Contrary to the Government’s claims, Crown is not “claiming that the fraud was
caused by their brokers.” Opp. at 25. Crown has never suggested that. Crown
maintains that no fraud exists here.

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Hearing Tr. at 21 (Mr. Kanellis). This is plainly wrong.12 And the

Court has repeatedly acknowledged the role of brokers in the

classification of merchandise, even going so far as to conduct training to

promote the “prope[r] class[ification of] goods.” United States v. UPS

Customhouse Brokerage, Inc., 31 C.I.T. 1023, 1024 (2007) (“In an effort

to improve broker compliance in the area of classification . . . Customs

issued letters to and conducted training sessions for customs

brokers[.]”).; Kahrs Int’l, Inc. v. United States, 33 C.I.T. 1316, 1339 n.20

(2009) ((“[T]he Court must determine whether the government's

classification is correct, both independently and in comparison with the

[ broker’s ] alternative.”) (internal quotes omitted) (emphasis added). In

fact, brokers advertise their ability to classify merchandise under the

HTSUS for importers to be compliant.13 Brokers need not “posses[s] or

“purchas[e]” merchandise to classify it correctly. Opp. at 31. Instead,

classifications are frequently completed based on product specifications


12The U.S. Department of Commerce describes customs brokers as “oversee[ing]
transactions related to customs entry and . . . product classification[.]” See
https://www.trade.gov/customs-brokers-and-freight-forwarders (emphasis added).
13The National Customs Brokers and Freight Forwarders Association (“NCBFFA”),
the national trade association for customs brokers, regularly offers classification
training sessions. See https://www.ncbfaa.org/home/2022/06/15/industry-
events/lacbfaa-webinar-hts-classification-workshop-2022 (enrollment for HTSUS
classification webinar).

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or descriptions on commercial invoices without ever taking control of

the goods.

     Given the Crown Companies’ size and the use of separate brokers

to classify entries from Europe and Canada, the Government’s

conclusory allegation that the Crown Companies “knew that the subject

metal lids were supposed to be classified under HTSUS subheading

8309.90.0000” is simply insufficient as a matter of law to sustain a

claim of fraud or gross negligence. Am. Compl. ¶ 18. That a corporate

structure of this size had inconsistent classifications and lacked

oversight of different brokers handling shipments from two different

parts of the world cannot elevate a simple negligence claim to one of

fraud or even of gross negligence. The facts alleged by the Government

in its Amended Complaint and in its Opposition at best state a claim—

at the pleading stage—for negligence, not fraud or gross negligence.

             4.   Import Statistics do not Establish that the
                  Misclassification of Can Ends was Intentional

     In its Amended Complaint and Opposition, the Government places

great weight on the same exhibit that was attached to the initial

Complaint detailing the entries alleged to be misclassified, including

the entry number, date of entry, place of entry, HTSUS classification,

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duty rate, and value of each entry. Opp. at 2; Am. Compl. at Exh. A.

The Government’s position that this entry information – without more –

is sufficient to set forth the “‘who, what, when, where and how’ of the

alleged fraud,” Opp. at 2, is based on its faulty assumption that a

misclassification is necessarily a “false statement.” Am. Compl. at 12,

13, 17, 26-28, 33; Opp. at 2, 7-9, 11, 22, 25, 28, 30, 32. As detailed in the

Motion to Dismiss, the Government’s categorization of misclassification

as “false statements” improperly implies intent where none exists. Mot.

at 14. Entry data alone, without context or corroboration, cannot be

sufficient to establish “the specific circumstances underlying each

entry,” as the Government claims. Opp. at 9 (quoting Am. Compl. ¶ 12).

A misclassification corrected through lawful channels14 is neither a

false declaration nor a false statement. Opp. at 23. If it were, every

single misclassification of a HTSUS subheading would be deemed to



14 As detailed in the Crown Companies’ Motion to Dismiss, voluntary disclosures
are not an admission of fraud, Am. Compl. ¶ 14, but rather a lawful mechanism for
importers to report the circumstances of a violation to CBP before commencement of
a formal investigation and thereby to correct an error of which it has become aware
and limit its potential penalty liability. See 19 U.S.C. § 1592(c)(4). Mot. at 12. The
filing of a voluntary disclosure has been recognized as indicative of a “good faith
effort to comply with the statute” by this Court. United States v. Nat’l
Semiconductor Corp., 30 C.I.T. 769, 771, modified on reconsideration, 30 C.I.T. 1428
(2006), vacated and remanded, 496 F.3d 1354 (Fed. Cir. 2007).

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constitute fraud, contrary to the fundamental notion of what constitutes

fraud in our legal framework. The Amended Complaint does not detail

the “manner and means” of the alleged “fraudulent scheme;” all it

details is that 543 import entries from Europe were incorrect.15 Opp. at

23. This superficial information, which provides no insight into the

motivation or intent underlying the alleged “fraud scheme,” has already

been deemed insufficient to overcome a Motion to Dismiss by this Court.

Order, ECF No. 22.

      Moreover, contrary to the Government’s claims, Crown did not

cause any false statements to be submitted to the government, and its

inadvertent misclassification did not “deprive United States taxpayers”

of any money. The Government’s misleading “wordplay” ignores the fact

that the Crown Companies have already paid the full amount of duties

they owed. Opp. at 2, 7. As the Government acknowledges: “[n]either

defendant owes unpaid duties to the Government.” Opp. 10. The

Government’s theory of the case – that the Crown Companies’ motive to

misclassify their metal lid imports from Europe [was] to avoid payment



15Notably, this was not all of the entries from Europe during the relevant time
period.

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of almost $1.3 million in duties – is undermined by the fact that the

Crown Companies took corrective action as soon as they became aware

of the discrepancy in the classification of can ends, including by filing

prior disclosures and tendering the full amount of lost revenue in

2009.16

      In fact, the Government presents no plausible motive – the “why” -

for the Crown Companies or “their co-conspirators,” presumably

individual employees of the Crown Companies, to intentionally

misclassify the can ends at issue. Opp. at 28. In “determining whether a

complaint states a plausible claim” the court is tasked with “draw[ing]

on its experience and common sense.” Ashcroft v. Iqbal, 556 U.S. 662,

664 (2009).17 Even the Government concedes that only a very small

fraction of the Crown Companies’ U.S. food can end sales, and an even



16The Government again fails to indicate that the Crown Companies promptly filed
voluntary prior disclosures when made aware of the erroneous classification. Crown
USA filed an initial prior disclosure on June 26, 2009, and filed a final written
submission on September 23, 2009.
17 The Government again cites DiLeo v. Ernst & Young, 901 F.2d 624, 627 (7th Cir.
1990), which “instruct[s] that a complaint must identify ‘the who, what, where,
when and how’ of the scheme.” Opp. at 2, 13-14. In DiLeo, however, the reviewing
court found the complaint to be inadequate based on its failure to identify the
perpetrator of the alleged fraud or “what that person might have had to gain” from
their participation. 901 F.2d at 629. “One who believes that another has behaved
irrationally has to make a strong case.” Id. The Government has not done so here.

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smaller fraction of their total food can sales (i.e., can body plus can end),

had any connection to these imports. Opp. at 5. In the context of

Crown’s total business activity in the United States, which included the

manufacture and/or sale of beverage cans and ends, food cans and ends,

aerosol cans and ends, bottlecaps, bottle and jar lids, promotional metal

tins for cookies and alcohol, as well as machinery and equipment for the

can industry, the activity involved in this case is wholly immaterial.

Indeed, the Government’s focus on Crown’s profitability during the

relevant period highlights how insignificant the 2.6% in duty savings

would have been to a company of its size. In the context of more than

$44 billion in annual consolidated net sales over six years, savings of

$1.2 million over the same six years is not substantial enough to

incentivize a “complex and far-reaching fraudulent scheme.” Opp. at 5,

17.

      Because the 543 entries at issue represent only a tiny fraction of

Crown’s imports, with a miniscule amount of savings resulting from the

avoidance of a 2.6% ad valorem duty compared to Crown’s total sales,

there continues to be no “common sense” motivation – no “why” – for

Crown to perpetrate this alleged scheme. Crown employees are not


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compensated for cost savings that might be engendered by tariff rates,

and the Government has not alleged receipt by any employee or agent of

“kickbacks” or any other incentives for duty savings, so there would

similarly not be any incentive for an individual employee to unilaterally

change or to cause to be changed the classification of these imports to

avoid additional duties.

     Crown disputes that the “facts and circumstances surrounding

each of the 543 entries of metal lids” establish an “extraordinary high

probability” that the inadvertent misclassification was intentional. Opp.

at 8-9, 23. The Government cites United States v. Mariner Health Care,

Inc. for the premise that “statistical probabilities” may support a claim

of fraud. In that case, however, that Court found that the claim

“require[d] specific evidence of unlawful conduct in addition to

statistical evidence.” Opp. at 8-9 (citing No. 18-CV-00653-EMC, 2021

WL 4259907 (N.D. Cal. Aug. 5, 2021)) (emphasis added). In other words,

the plaintiff’s statistical models evidencing fraud were only sufficient

when “combined with the particular details . . . provided regarding the

‘who, what, when, where, and how’ of the fraudulent scheme.” Id. The

Amended Complaint continues to fall short of this threshold test.


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      The fact that products from separate locations classified

independently by separate brokers does not “reduce to nearly zero the

statistical probability that defendants’ misclassification of lids from

Europe could have been inadvertent or coincidental,” as the

Government claims. Opp. at 8. It merely evidences a large and growing

company undergoing a cooperate reorganization. Without more, the

Government’s claims of fraud and gross negligence do not “[c]ross the

line from conceivable to plausible” and should be dismissed. Sioux

Honey Ass'n v. Hartford Fire Ins. Co., 672 F.3d 1041, 1063 (Fed. Cir.

2012).

      B.     There Is No Legal Basis To Support Plaintiff’s Fraud
             Claim

      As Plaintiff twice notes, “[t]he level of particularity required

[under Rule 9(b)] depends on the nature of a case.” Opp. at 17, 30

(quoting E–Shops Corp. v. U.S. Bank Nat. Ass’n, 678 F.3d 659, 663 (8th

Cir. 2012)).18 Seemingly in recognition of its inability to plead its fraud

claims with requisite particularity, the Government highlights that the


18In E–Shops, the court dismissed the complaint as not satisfying Rule 9(b)’s
particularity requirements where, as here, it failed to “identify the employees, state
their positions . . . , state how they acquired [fraudulent] information, or whether
the employees were authorized to speak on behalf of [Defendant].” 678 F.3d at 663–
64.

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specificity requirement may be “relaxed . . . as an exception” where the

“necessary evidence of fraud is in the exclusive control of the defendant

or when a fraudulent scheme alleged is complex or occurred over a long

period of time.” Opp. at 17. However, as detailed in the Motion to

Dismiss and above, the purported fraud at issue is not a “complex

scheme” and proof does not rest with the Crown Companies, who have

fully cooperated with and provided extensive documentation to the

Government over the course of a decade. Given the absence of any

scheme in the first place, such “proof” simply does not exist. Opp. at 18.

      The Government’s effort to categorize Crown’s misclassification of

can ends as a “complex” fraud scheme likewise misses the mark. Opp. at

17. The complexities in the cases cited by the Government are not only

absent here, but also do not negate the particularity requirements of

USCIT Rule 9(b).19 For example, in United States ex rel. Semtner v.

Medical Consultants, Inc., 170 F.R.D. 490, 498 (W.D. Okl. 1997), Opp.

at 17, the court found that the “exact nature of each allegedly

fraudulent document” need not be pled where there were “thousands of



19Ironically, in at least six of the cases cited by the Government, the reviewing
courts ultimately found that fraud was not pled with requisite particularity. See
Defendants’ Reply in Support of Motion to Dismiss, ECF No. 14, at n.10.

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billing documents.” Id. at 498. However, the district court still required

the government to identify “how the scheme operated” and to provide a

description of “the defendants’ actions,” even though it did not identify

them by name. Id.

     Even in the case of a “complex and far-reaching fraudulent

scheme,” the reviewing courts have found that “it is insufficient to

simply plead the scheme[.]” Opp. at 17 (quoting Chesbrough v. VPA

P.C., 655 F. 3d 461, 470 (6th Cir. 2011)). While the Government points

to the table identifying each of the 543 misclassified HTSUS

subheadings as providing the requisite detail to enable Crown to mount

a full defense, Opp. at 24-26, those entries, without more, do not

describe, imply, or suggest improper conduct, and provide no notice to

Crown of the complex “fraudulent scheme” the Government believes

them to have participated in. In fact, the Government provides no

details in the Amended Complaint connecting even a sampling of those

543 entries to the allegedly fraudulent scheme or conduct that rises to

the level of gross negligence.

     Crown’s ability to identify deficiencies in the Amended Complaint

does not “evince that the Government’s allegations of fraud were”


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sufficient. Opp. at 25-26. Crown’s “offering [of] numerous factual

explanations” for the misclassifications is highly relevant to the

Government’s failure to meet its burden in alleging fraud. Indeed, it is

well established that an allegation of fraud carries a heightened burden

of proof in U.S. law. Given that intent is a requisite element to support

a claim of fraud, Mot. at 9, the Government’s statements that the

Crown Companies’ “arguments over facts are misplaced” and “are of the

type made to a jury at closing argument” are disingenuous. Opp. at 27.

The Amended Complaint simply fails to “set forth specific facts

supporting an inference of fraudulent intent.” Opp. at 27 (quoting Ibe v.

Jones, 836 F. 3d 516, 525 (5th Cir. 2016)). In fact, as detailed above, the

Amended Complaint and the Opposition demonstrate the absence of a

common sense reason for the Crown Companies or their employees to

have intentionally misclassified can ends. See Section II.A.4., supra.

The Crown Companies had neither the “motive [nor] opportunity to

commit fraud” and the Government has not otherwise “alleg[ed] facts

that constitute strong circumstantial evidence of conscious misbehavior

or recklessness.” Opp. at 27 (quoting Schwartzco Enters. LLC. v. TMH

Mgmt., LLC, 60 F. Supp. 3d 331, 344 (E.D.N.Y. 2014)).


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     Despite the Government’s claims, the provision of entries alone

does not “plainly depic[t] a motive, opportunity, and intent to commit

fraud,” Opp. at 28, and there are no facts alleged in the Amended

Complaint that otherwise “plausibly give rise” to the Government’s

fraud claim. Iqbal, 556 U.S. at 662. To the contrary, an examination of

precedent under 19 U.S.C. § 1592 reveals that the fraud provision is not

intended to punish HTSUS misclassification. Mot. at 8-11. As detailed

below and in the Motion to Dismiss, cases that have arisen in this

context consistently involve negligence claims, not fraud or gross

negligence. See Mot. at 30-34 (citing United States v. Great Neck Saw

Manufacturers, Inc., No. 17-00049, 2018 WL 1840207, at *1, *4 (Ct. Int’l

Trade Apr. 16, 2018); United States v. Sterling Footwear Inc., 279 F.

Supp. 3d 1113 (Ct. Int’l Trade 2017)).

     Unable to cite precedent specifically addressing the

misclassification of Customs entries, the Government instead points to

United States ex rel. Karvelas v. Melrose-Wakefield Hosp., 360 F.3d 220,

233 (1st Cir. 2004), a case involving a health care providers’ alleged

submission of false Medicare and Medicaid claims to the federal

government. Opp. at 15. The Government fails to mention in its


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Opposition that the court ultimately dismissed the complaint in

Karvelas for “failure to identify with particularity any actual false

claims that the defendants submitted to the government[.]” Karvelas,

360 F.3d at 235. Specifically, while the complaint identified sixteen

separate schemes to defraud the government, including the false

certification of cost reports and confirmation of orders, it did “not

identify or describe the individuals involved in the improper billing or

allege with particularity any certification of compliance with federal

regulations in order to obtain payments.” Id. at 233. Amongst other

things, this failure to provide a “factual basis for [the] conclusory

allegations that the defendants submitted actual false or fraudulent

claims to the government,” was found to be “fatal” to the complaint. Id.

at 233.

     Neither Karvelas, nor any of other cases cited by the Government,

support its position that Crown had knowledge of the correct

classification of can ends being imported and intentionally failed to use

the correct classification. The Amended Complaint does not support the

Government’s allegation that the Crown Companies “demonstrated they

understood how to correctly classify the metal lids,” Opp. at 31,


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especially given that metal lids imported from Europe and Canada were

overseen by separate brokers and classified independently. Though the

Government claims that it is “patently absurd” that it should be

expected to identify “who” carried out the fraud scheme or “what” they

did, Opp. at 19, this is precisely what is required to sustain a claim of

fraud, especially after 10+ years of investigating. Opp. at 13 (“A

complaint of fraud ‘must include informational elements of ‘who, what,

when, where, and how[.]’”) (emphasis added). Contrary to the

Government’s claims, incorrect entries, without more, do not

substantiate the who, what, where, when, or how of a fraud claim. Opp.

at 23-24.

      C.     There Is No Legal Basis To Support Plaintiff’s Gross
             Negligence Claim

      Though gross negligence carries a lesser burden of proof than

claims of fraud,20 cases in which this Court has found support for a




20Contrary to the Government’s assertion, Crown does not argue that the Supreme
Court’s ruling in Iqbal or Rule 9(b) are the appropriate standard for gross
negligence. Opp. at 28-29. The Government misunderstands language in the
introduction of the Motion to Dismiss, which states that the Government has not
sufficiently alleged its claims for either fraud, or even for gross negligence. Mot. at
4-5.

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gross negligence consistently involve something more than just an

incorrect HTSUS subheading. Mot. at 30.

     The Government’s attempts to distinguish the Court’s rulings in

such cases, most notably Great Neck and Sterling Footwear, are

unavailing. Opp. at 30-34. Though there is no bright line rule or

“categorica[l] require[ment]” that a claim for gross negligence “must

involve a prior notification, and . . . a subsequent decision to ignore the

warning,” Opp. at 30, such behavior has been deemed the kind of

evidence necessary to support a claim for gross negligence in the past,

with the Court consistently looking to some evidence of knowledge of

the wrongful conduct to support a claim for gross negligence.

     By citing this precedent, Crown is not “adduc[ing] a new pleading

standard,” but rather detailing the kinds of behavior found to constitute

gross negligence by the Court and distinguishing the actions of Crown

in this case. Mot. at 30-32 (identifying “a clear distinction between the

two claims tied to the Government’s allegations that it notified Great

Neck that the commissions were nondeductible on a specific date, but

Great Neck continued to deduct them anyway”) (emphasis in original).

This exercise is, in fact, the function of precedent, which establishes


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parameters that guide a court’s decisions. For example, prior

notification from CBP and a decision to ignore that notification

evidences a defendants’ “actual knowledge of or wanton disregard for

the relevant facts and with indifference to or disregard for the offender’s

obligations under the statute.’” Opp. at 30 (quoting Sterling Footwear,

279 F. Supp.3d 1113, 1138). By contrast, the prompt filing of a prior

disclosure and the tendering of the full amount of lost revenue upon

discovery of a misclassification, the engagement of private customs

counsel to review tariff classifications and other customs procedures,

the hiring of an experienced licensed customs broker to oversee customs

filings, and the development a customs compliance program, as the

Crown Companies did in the months immediately following their prior

disclosures, reveals a well-intentioned importer that simply made a

mistake.

     As these cases demonstrate, even to support its claim of gross

negligence, the Government must provide some factual basis for its

allegation that the Crown Companies “instructed their brokers on how

to classify these lids.” Opp. at 32. As an example, in Sterling Footwear,

CBP contacted defendant’s “nine customs brokers and requested that


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they respond to a questionnaire asking, in part, who determined the

classifications.” 279 F. Supp. 3d 1113, 1124. The allegations of gross

negligence were premised, in part, on the fact that “most of the customs

brokers stated that they had entered [Plaintiff’s imports] under the

tariff provisions provided by [Plaintiff].” Id. (emphasis added). There is

nothing like that here, despite the extensive investigation conducted by

CBP with Crown’s full cooperation.

     The use of an incorrect HTSUS subheading “in lieu of the correct

HTSUS subheading,” Opp. at 24, does not amount to gross negligence.

Without more, the circumstantial evidence and conclusory allegations

presented in the Amended Complaint are simply not enough.

III. CONCLUSION

     After more than a decade of investigating and being given a second

opportunity by this Court to replead its claims, the Government still has

failed to plead facts sufficient to sustain claims of fraud and gross

negligence. Simply identifying misclassified HTSUS subheadings cannot

be the basis for fraud or even gross negligence claims. The threat alone

might tempt CBP into pressuring importers into higher negligence

settlements, which would be a misuse of CBP’s authority.


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     For these reasons, Crown respectfully requests that the Court

dismiss Counts I and II of the Amended Complaint with prejudice and

without leave to amend.



                                Respectfully Submitted,

                                /s/ Jackson D Toof
                                Jackson D. Toof
                                Leah N. Scarpelli

                                ArentFox Schiff LLP
                                1717 K Street, NW
                                Washington, DC 20006
                                Tel: (202) 857-6000
                                Fax: (202) 857-6395
                                Email: jackson.toof@afslaw.com
                                         leah.scarpelli@afslaw.com

                                Counsel for Defendants Crown Cork &
                                Seal, USA, Inc. and Crown Cork &
                                Seal Co., Inc.




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                 CERTIFICATE OF COMPLIANCE

     I, Jackson D. Toof, an attorney with the law firm ArentFox Schiff

LLP, which represents Defendants in this action, relying up on the

word count feature of the word processing program used to prepare this

motion, hereby certify that this motion complies with the word count

limitation under the Court’s Chamber Procedures, and contains 6,922

words.




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